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  1   SULAIMAN LAW GROUP, LTD
  2   Alejandro E. Figueroa (State Bar No. 332132)
      Sulaiman Law Group, Ltd.
  3   2500 South Highland Avenue, Suite 200
  4   Lombard, IL 60148
      Phone: (630) 575-8181
  5   Fax: (630) 575-8188
  6   alejandrof@sulaimanlaw.com
  7

  8                       UNITED STATES DISTRICT COURT

  9                     CENTRAL DISTRICT OF CALIFORNIA

 10

 11    FAYE A. YOUNG,                       Case No. 2:21-cv-05284-CBM-MARx

 12                   Plaintiff,            ORDER [JS-6]

 13          v.

 14
       CROSS AMERICA FINANCIAL,
 15    LLC,

 16                   Defendant.

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Case 2:21-cv-05284-CBM-MAR Document 16 Filed 10/19/21 Page 2 of 2 Page ID #:54



  1                 ORDER ON DISMISSAL WITHOUT PREJUDICE
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            Plaintiff, FAYE A. YOUNG (“Plaintiff”), by and through her undersigned
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  4   attorney, having filed with this Court her Agreed Stipulation of Dismissal with
  5
      Prejudice and the Court having reviewed same, now finds that this matter should be
  6
      dismissed as to Defendant, CROSS AMERICA FINANCIAL, LLC.
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  8         IT IS THEREFORE ORDERED by this Court that the above cause of action
  9
      is hereby dismissed, with prejudice, as to CROSS AMERICA FINANCIAL, LLC.
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      Each party shall bear its own costs and attorney fees.
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       Dated: OCTOBER 19, 2021
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                                             ____________________________________
                                             HON. CONSUELO B. MARSHALL
 16                                          UNITED STATES DISTRICT JUDGE
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